
819 So.2d 816 (2002)
Kenneth OLIVER, Appellant,
v.
STATE of Florida, Appellee.
No. 1D01-0126.
District Court of Appeal of Florida, First District.
April 8, 2002.
Nancy A. Daniels, Public Defender, and Joel D. Arnold, Assistant Public Defender, Tallahassee, for Appellant.
Robert A. Butterworth, Attorney General, and James W. Rogers, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
This direct criminal appeal was brought pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Having reviewed the entire record, we agree that no reversible error occurred. We affirm the appellant's revocation of probation and imposition of judgment and sentence. However, we note that the record does not contain a written order of revocation of probation listing the conditions of probation violated. We thus remand for the trial court to enter such an order, consistent with its oral pronouncement. See Walker v. State, 686 So.2d 758 (Fla. 1st DCA 1997). The appellant need not be present.
AFFIRMED and REMANDED, with directions.
MINER, PADOVANO and BROWNING, JJ., concur.
